Case 2:03-cr-20253-.]DB Document 41 Filed 06/21/05 Page 1 of 2 Page|D 61

IN THE UNITED sTATES DISTRICT coURT "F"'ED 3`” 43 f o.e.
FoR THE WESTERN DIsTRJCT oF TENNESSEE
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WESTERN DIVIsIoN 05 JUN 31 '
F':OBEP.T
UNITED STATES oF AMERICA, V(’:ZEHO:'F £;NS. :::;SE§:;::
Plainriff,
v. No. 03-20253~13/\/

MICHAEL P. MALLEY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Attorney Leslie I. Ballin’s Motion to Withdraw filed on June 20,
2005 .

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

14
IT IS SO ORDERED this ll day of June, 2005 .

?/J%r

J. DANIE'L BREEN
Nl rED sTATEs DISTRICT JUDGE

 

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UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CR-20253 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Leslie I. Ballin

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Honorable .1. Breen
US DISTRICT COURT

